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 1   RENE L. VALLADARES
     Federal Public Defender
 2   Nevada State Bar No. 11479
     RAQUEL LAZO
 3   Assistant Federal Public Defender
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 4   Las Vegas, Nevada 89101
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 5   (702) 388-6261/Fax
     Raquel_Lazo@fd.org
 6
     Attorney for In Seon Seong
 7
 8                               UNITED STATES DISTRICT COURT

 9                                       DISTRICT OF NEVADA
10
     UNITED STATES OF AMERICA,                          Case No. 12-CR-268-JAD-CWH
11
                    Plaintiff,                          UNOPPOSED MOTION TO
12                                                      MODIFY CONDITIONS TO
            v.
13                                                      PERMIT TRAVEL
     IN SEON SEONG,
14                                                      (Expedited Treatment Requested)
                    Defendant.
15
16
            Comes now the defendant, In Seon Seong, by and through her counsel of record,
17
     Raquel Lazo, Assistant Federal Public Defender, and hereby files this Unopposed Motion to
18
     Modify Conditions to Permit Travel. This request is based on the Points and Authorities
19
     attached hereto.
20
21
            DATED this 14th day of March, 2016.
22
                                                  RENE L. VALLADARES
23                                                Federal Public Defender
24
                                             By: /s/Raquel Lazo
25                                               RAQUEL LAZO
                                                 Assistant Federal Public Defender
26                                               Attorney for In Seon Seong
          Case
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 1                                 POINTS AND AUTHORITIES
 2   1)      On November 22, 2013, Ms. Seong was released on Pretrial Release Bond with
 3
     conditions. Her travel was restricted to Clark County, Nevada and the State of New Jersey.
 4
     CR#67.
 5
 6   2)      Ms. Seong seeks permission to travel to Huntington Beach, California for her

 7   daughter's baby shower. Ms. Seong will leave Friday March 18, 2016 and return on Monday,
 8   March 21, 2016. She will stay at her daughter's residence. Ms. Seong has provided the address
 9
     to Pretrial Services.
10
     3)      Both the government and Pretrial Services Officer Oliver have no opposition to
11
12   Ms. Seong's request.

13           Dated this 14th day of March, 2016.
14                                                 Respectfully submitted,
15
                                             By: /s/Raquel Lazo
16                                               RAQUEL LAZO
                                                 Assistant Federal Public Defender
17                                               Attorney for In Seon Seong
18
19
20
     IT IS SO ORDERED: ________________________________
21                    UNITED STATES DISTRICT JUDGE

22
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        Case
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 1                         CERTIFICATE OF ELECTRONIC SERVICE

 2          The undersigned hereby certifies that he is an employee of the Federal Public Defender
 3   for the District of Nevada and is a person of such age and discretion as to be competent to
 4   serve papers.
 5          That on March 14, 2016, he served an electronic copy of the above and foregoing
 6   Unopposed Motion to Modify Conditions to Permit Travel (Expedited Treatment
 7   Requested) by electronic service (ECF) to the person named below:
 8
 9                         DANIEL G. BOGDEN
                           United States Attorney
10                         KIMBERLY FRAYN
                           Assistant United States Attorney
11                         333 Las Vegas Blvd. So. 5th Floor
                           Las Vegas, NV 89101
12
                                                  /s/ Brandon Thomas
13                                                Employee of the Federal Public Defender
14
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